           Case 2:20-mj-00885-VCF Document 7 Filed 10/20/20 Page 1 of 4



1    NICHOLAS A. TRUTANICH
     United States Attorney
2    District of Nevada
     Nevada Bar Number 13644
3    ALLISON REESE
     Nevada Bar Number 13977
4    Assistant United States Attorney
     501 Las Vegas Blvd. South, Suite 1100
5    Las Vegas, Nevada 89101
     Phone: (702) 388-6336
6    Email: allison.reese@usdoj.gov
     Attorneys for the United States of America
7
                                   UNITED STATES DISTRICT COURT
8                                       DISTRICT OF NEVADA

9     UNITED STATES OF AMERICA,                            Case No.: 2:20-mj-00885-VCF

10                    Plaintiff,                           STIPULATION TO CONTINUE THE
                                                           PRELIMINARY HEARING
11           vs.                                           (First Request)

12    JAIR DE JESUS LEON-LIMON,

13                    Defendant.

14

15           IT IS HEREBY STIPULATED AND AGREED, by and between NICHOLAS A.

16   TRUTANICH, United States Attorney, and ALLISON REESE, Assistant United States

17   Attorney, counsel for the United States of America, and IVETTE MANINGO, counsel for

18   Defendant JAIR DE JESUS LEON-LIMON, that the preliminary hearing date in the above-

19   captioned matter, currently scheduled for October 22, 2020, at 4:00 p.m., be vacated and

20   continued for thirty (30) days, to a date and time to be set by this Honorable Court.

21           This stipulation is entered into for the following reasons:

22           1.     The Government needs additional time to produce relevant discovery to Defense

23   Counsel.

24   ///


                                                      1
          Case 2:20-mj-00885-VCF Document 7 Filed 10/20/20 Page 2 of 4



1               2.   Defense Counsel needs additional time to review the discovery, conduct additional

2    investigation, and confer with the Defendant about how he would like to proceed.

3               3.   The parties agree to the continuance.

4               4.   Defendant JAIR DE JESUS LEON-LIMON is in custody and does not object to

5    the continuance.

6               5.   Additionally, denial of this request for continuance could result in a miscarriage of

7    justice.

8               6.   The additional time requested herein is not sought for purposes of delay, but to

9    allow for a potential pre-indictment resolution of the case.

10              7.   The additional time requested by this stipulation, is allowed, with the defendant’s

11   consent under the Federal Rules of Procedure 5.1(d).

12              8.   This is the first request for a continuation of the preliminary hearing.

13              DATED: October 20, 2020

14                                                Respectfully submitted,

15                                                NICHOLAS A. TRUTANICH
                                                  United States Attorney
16
                                                  /s/ Allison Reese
17
                                                  ALLISON REESE
18                                                Assistant United States Attorney

19

20                                                /s/ Ivette Maningo

21                                                IVETTE MANINGO
                                                  Counsel for Defendant JAIR DE JESUS LEON-
22                                                LIMON

23

24


                                                       2
          Case 2:20-mj-00885-VCF Document 7 Filed 10/20/20 Page 3 of 4



1                                    UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
2
      UNITED STATES OF AMERICA,                              Case No.: 2:20-mj-00885-VCF
3
                        Plaintiff,                           ORDER
4
                vs.
5
      JAIR DE JESUS LEON-LIMON,
6
                        Defendant.
7

8                                                   ORDER

9               Based on the pending Stipulation of counsel, and good cause appearing therefore, the

10   Court finds that:

11              1.    The Government needs additional time to produce relevant discovery to Defense

12   Counsel.

13              2.    Defense Counsel needs additional time to review the discovery, conduct additional

14   investigation, and confer with the Defendant about how he would like to proceed.

15              3.    Defendant JAIR DE JESUS LEON-LIMON is in custody and does not object to

16   the continuance.

17              4.    Additionally, denial of this request for continuance could result in a miscarriage of

18   justice.

19              5.    The additional time requested herein is not sought for purposes of delay, but to

20   allow for a potential pre-indictment resolution of the case.

21              6.    The additional time requested by this stipulation, is allowed, with the defendant’s

22   consent under the Federal Rules of Procedure 5.1(d).

23              7.    This is the first request for a continuation of the preliminary hearing.

24


                                                        3
         Case 2:20-mj-00885-VCF Document 7 Filed 10/20/20 Page 4 of 4



1           For all of the above-stated reasons, the ends of justice would best be served by a

2    continuance of the preliminary hearing date.

3                                      CONCLUSIONS OF LAW

4           The ends of justice served by granting said continuance outweigh the best interest of the

5    public and the defendant, since the failure to grant said continuance would be likely to result in

6    a miscarriage of justice, would deny the parties herein to potentially resolve the case prior to

7    indictment, and further would deny the parties sufficient time and the opportunity within which

8    to be able to effectively and thoroughly prepare for the preliminary hearing, taking into account

9    the exercise of due diligence.

10          The continuance sought herein is allowed, with the defendant’s consent, pursuant to

11   Federal Rules of Procedure 5.1(d).

12                                               ORDER

13          IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled for

14                                                                           November 23
     October 22, 2020, at the hour of 4:00 p.m., be vacated and continued to ________________, 2020,
                     4:00p
15   at the hour of ______ __.m..

16
                 20th day of October, 2020.
     DATED this ______
17

18                                            _______________________________________
                                              THE HONORABLE CAM FERENBACH
19                                            UNITED STATES MAGISTRATE JUDGE

20

21

22

23

24


                                                     4
